                        Case 2:09-cr-00090-WHA-CSC Document 437 Filed 11/01/10(NOTE:
  AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                 Page     1 of 5
                                                                                     Identify Changes with Asterisks (*))
           Sheet I


                                            UNITED STATES DISTRICT COURT
                             Middle                                      District of                                      Alabama

           UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
                     DAVID R. CLARK                                               Case Number:          2:09cr090-WHA-05
                                                                                  USM Number:           12804-002
Date of Original Judgment: July 12, 2010                                                      Jon Canton Taylor
(Or Date of Last Amended Judgment)                                                Defendant's Attomey

Reason for Amendment:
LI Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                 fl Modification of Supervision Conditions (18 U.S.C. §* 3563(c) or 3583(e))
   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 LI Modification of Imposed Term of Imprisonment for Extraordinary and
   P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(I))
LI Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))             LI Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                   LI Direct Motion to District Court Pursuant LI 28 U.S.C. § 2255 or
                                                                                            18 U.S.C. § 3559(c)(7)
                                                                                  liii Modification of Restitution Order(18 U.S.C. § 3664)

THE DEFENDANT:
X pleaded guilty to count(s) 6 of the Indictment on September 1,2009
    pleadednob contendere to count(s) __________________________________________________________________________________
    which was accepted by the court.
    wasfound guilty on count(s) ________________________________________________________________________________________
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                Offense Ended                   Count
18:513(a) & 18:2                    Possession and utterance of forged security; aiding & abetting                     10/10/08                        6




       The defendant is sentenced as provided in pages 2                    through 5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
I The defendant has been found not guilty on count(s) ____________________________________________________________________
L
X Count(s)           1 of the Indictment         x is Li are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                         November 1, 2010
                                                                                  Date of Impo


                                                                                  Signature oJudge
                                                                                  W. Harold Albnitton, Senior U. S. District Judge
                                                                                  Name and Title of Judge


                                                                                  Date
                                                                                               Jf/  //
                                                                                               7 ' 7 '




AU 245C        (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet IA                                                                                                  (NOTE. Identify Changes with Asterisks (*))
                    Case 2:09-cr-00090-WHA-CSC Document 437 Filed 11/01/10 Page 2 of 5
AO 245C        (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet 4 - Probation                                                                           (NOTE: ldentif' Changes with Asterisks (*))
                                                                                                          Judgment—Page        2      of          5
DEFENDANT:      DAVID R. CLARK
CASE NUMBER: 2:09cr090-W1-IA-05
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:

THREE (3) YEARS.


The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court.
Li The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
Li The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                 If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notif,' the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
       record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
       defendant's compliance with such notification requirement.
               Case 2:09-cr-00090-WHA-CSC Document 437 Filed 11/01/10 Page 3 of 5
AU 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 4C - Probation                                                           (NOTE: Identif' Changes with Asterisks (*))
                                                                                       Judgment—Page        3     of          5
DEFENDANT:               DAVID R. CLARK
CASE NUMBER:             2:09cr090-.WFIA-05

                                      SPECIAL CONDITIONS OF SUPERVISION

Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
                   Case 2:09-cr-00090-WHA-CSC Document 437 Filed 11/01/10 Page 4 of 5
 AO 245C     (Rev. 06/0 5) Amended Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment - Page       4     of            5
 DEFENDANT:                        DAVID R. CLARK
 CASE NUMBER:                      2:09cr090-WHA-05
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                       Fine                                 Restitution
 TOTALS            $ 100.00                                         $ -0-                                 $ 13,274.81


 E The determination of restitution is deferred until                 An Amended Judgm ent in a Criminal Case (AO 245C) will be
     entered after such determination.

 E The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately prqportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S .C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                Total Loss*                         Restitution Ordered                   Priority or Percentage
  Alfa Mutual Insurance Co.                                                            $ 8,097.63
  AUn: Craig Venable, Audit
  Services
  P. 0. Box 11000
  Montgomery, AL 36191
  Claim No. 6380045794

    Zurich Surety and                                                                  $5,177.18
      Claims Restitution
    Attn: Helen Rasmussen
    P.O. Bo 17022-MD1-05-
    Baltimore, MD
    Claim No. 6380045794




 TOTALS                                $                                      $        13,274.81


 j Restitution amount ordered pursuant to plea agreement $

LiThe defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

x The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
 X the interest requirement is waived for the             Li fine     X restitution.
 Li the interest requirement for the              El fine        Li restitution is modified as follows:
                   Case 2:09-cr-00090-WHA-CSC Document 437 Filed 11/01/10 Page 5 of 5
AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6— Schedule of Payments                                                                 (NOTE: Identif' Changes with Asterisks (*))
                                                                                                       Judgment - Page        5      of         5
DEFENDANT:     DAVID R. CLARK
CASE NUMBER: 2:09cr090-WHA-05

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A X Lump sum payment of$ 13,374.81                              due immediately, balance due

               notlater than __________________________ , or
           x in accordance with El C, El D, U E, or x F below; or

B LI Payment to begin immediately (may be combined with fl C,                        !J D, or fl F below); or

C      J Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
         ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
          ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E El Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F L Special instructions regarding the payment of criminal monetary penalties:

                     Payment shall be made to the Clerk, U. S. District Court, P. 0. Box 711, Montgomery, AL 36101.
                     Any balance remaining at the start of supervision shall be paid at the rate of not
                     less than $100 per month.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X Joint and Several *
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.

     David R. Clark, 2:09cr090-WHA-05, Total: $13,274.81; Kristi McKeithen, 2:09cr090-WHA-01, Joint and Several Amount:
     $13,274.81; Amy Petrie, 2:09cr090-WHA-08; Joint and Several Amount: $6,752.10 *


El The defendant shall pay the cost of prosecution.

El The defendant shall pay the following court cost(s):

El The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
